                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN
                                    MILWAUKEE DIVISION

ECLIPSE SERVICE INC.,                           )
                                                )
        Plaintiff,                              )
                                                )       Case No. 2:22-cv-00757-JPS
v.                                              )
                                                )       Honorable J.P. Stadtmueller
SOLARCODE LLC,                                  )
SOLARCODE HOLDINGS, LLC,                        )
ROGER M. LEHNER, and                            )
ROBIN L. LEHNER,                                )
                                                )
        Defendants.                             )


                   DECLARATION OF PATRICK DOWNES IN SUPPORT OF
                       RULE 45(d) MOTION TO QUASH SUBPOENA



        PATRICK DOWNES, declares and states as follows:

        1.         I am a partner at Manteau Downes LLP, attorneys for Defendant Robin L. Lehner

(“Defendant”). I have personal knowledge of the facts set forth herein and could competently

testify thereto.

        2.         On or about October 18, 2022, Plaintiff Eclipse Service, Inc. (“Plaintiff”) served

Black Knight Sports and Entertainment LLC d/b/a Vegas Golden Knights (the “Golden

Knights”), Defendant’s Employer, with a subpoena commanding them to produce all documents

related to Defendant’s physical and mental health. A true and correct copy of the subpoena is

attached hereto as EXHIBIT A.

        3.         Plaintiff has requested Defendant’s mental health records in two prior document

requests directed to Defendant. On or about July 25, 2022, a first set of discovery requests on

Defendant sought “all medical records between January 1, 2019, and January 13, 2022, related to

                                                    1

         Case 2:22-cv-00757-JPS Filed 11/21/22 Page 1 of 19 Document 17-2
or reflecting your physical, mental, or emotional health.”

       4.      On October 4, 2022, Plaintiff served document requests asking Defendant to

produce, inter alia: “copies of all healthcare provider records pertaining to the examination or

treatment of your mental health during the period from January 1, 2019 to present.” A true and

correct copy of Plaintiff’s second set of discovery requests is attached hereto as EXHIBIT B.

Defendant’s doctor, and only mental health provider, has been asked for these records and

Defendant agrees to produce these documents to Plaintiff.

       5.      On November 3, 2022 the parties met and conferred regarding Defendant’s

objections to the subpoena. During this conference, Defendant stated that the request for physical

records was irrelevant to any issue here. Plaintiff justified the request since the inclusion or

omission of a reference to Defendant’s mental health in a physical health record is supposedly

probative. Plaintiff’s justification does not outweigh the burden imposed on Defendant’s employer

for two reasons. First, to the extent the physical records lack any reference to mental health, such

documents are not probative of defendant’s mental health. The absence of any such notation means

nothing since these providers were not focused or even qualified to provide a mental health

diagnosis. For example, the fact that defendant needed two hip surgeries is of no moment here. It

is undisputed Defendant consented to various procedures regarding his physical health. Second,

Defendant’s mental health records were not shared with the team and, on information and belief,

the physical records lack any reference to Defendant’s mental health, or any such reference is at

best de minimus.

       I declare under penalty of perjury that the foregoing is true and correct.

               Executed this 21st day of November, 2022

                                                     /s/ Patrick Downes_________________
                                                     Patrick Downes


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                                   MANTEAU DOWNES LLP
                                   10100 Santa Monica Blvd., Suite 300
                                   Los Angeles, CA 90067
                                   Tel. 310-497-1780
                                   pdownes@manteaudownes.com
                                   Attorneys for Defendant Robin Lehner




                               3

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                   EXHIBIT A




Case 2:22-cv-00757-JPS Filed 11/21/22 Page 4 of 19 Document 17-2
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Eastern District of Wisconsin

                   ECLIPSE SERVICE, INC.
                                                                               )
                                Plaintiff                                      )
                                   v.                                          )        Civil Action No. 22-CV-757
                                                                               )
                   ROBIN L. LEHNER, et al.                                     )
                                         - -- - - -
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                             Black Knight Sports and Entertainment LLC d/b/a Vegas Golden Knights
                         Attn: Michael L. Gravelle, Reg. Agent, 1701 Village Center Circle, Las Vegas, NV 89134
                                                        (Name ofperson to whom this subpoena is directed)

     ,i Production: YOU ARE COMM ANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored infonnation, or objects, and to pennit inspection, copying, testing, or sampling of the
 material:
           See attached Rider.


 Place: John R. Schreiber, Esq.                                                          Date and Time:
        O'Neil, Cannon, Hollman, DeJong & Laing, S .C.                                                        11/21/2022 1 :00 pm
        111 E. Wisconsin Ave., Ste 1400, Milwaukee, WI 53202
 ~ - - --
     0 Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 · Place:                                                                             IDare and Time:

        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         10/18/2022

                                   CLERK OF COURT
                                                                                            OR

                                            Signature ofClerk or Deputy Clerk                                         Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                          Plaintiff
Eclipse Service, Inc.                                                                            , who issues or requests this subpoena, are:
John R. Schreiber, 111 E. Wisconsin Ave., Suite 1400, Milwaukee, WI 53202, john.schreiber@wilaw.com, 414-276-5000

                            Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored infonnation, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


                  Case 2:22-cv-00757-JPS Filed 11/21/22 Page 5 of 19 Document 17-2
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 22-CV-757

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name ofindividual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                          on (date)                                    ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $


My fees are$                                      for travel and $                              for services, for a total of$                 0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                                  Server 's signature



                                                                                                Printed name and title




                                                                                                   Server's address


Additional information regarding attempted service, etc.:




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AO 888 (Rev. 02/14) Subpoena to Produce Documents, Infonnation, or Objects or to Pennit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert's opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforeement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form/or Producing Electronically Stored lriformalion Not Specified.
 (l) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena The court for the district where compliance is required must                 (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction-which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees--0n a party or attorney who           information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Jriformation. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
  (A) Appearance Not Required. A person commanded to produce                       of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b )(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises--0r to           (A) Jriformation Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Jriformation Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                   Case 2:22-cv-00757-JPS Filed 11/21/22 Page 7 of 19 Document 17-2
                                     RIDER TO SUBPOENA
                                     Requests for Production

        1)     Produce all documents, including (without limitation) applications, contracts,

agreements and tax forms, signed by Robin L. Lehner.

        2)     Produce all contracts, with amendments thereto, between Black Knight Sports and

Entertainment LLC d/b/a Vegas Golden Knights (the "Vegas Golden Knights") and Robin L. Lehner.

        3)     Produce all documents and emails regarding Robin L. Lehner that contain the word

"SolarCode".

        4)     Produce all correspondence to or from any employee, agent or representative of the

Vegas Golden Knights regarding the physical health of Robin L. Lehner.

        5)     Produce all correspondence to or from any employee, agent or representative of the

Vegas Golden Knights regarding the mental health of Robin L. Lehner.

       6)      Produce the entire file of the Vegas Golden Knights regarding the physical health of

Robin L. Lehner.

       7)      Produce the entire file of the Vegas Golden Knights regarding the mental health of

Robin L. Lehner.

       8)      Produce all reports, evaluations and records prepared by, on behalf of, or for the

Vegas Golden Knights regarding the physical health of Robin L. Lehner.

       9)      Produce all reports, evaluations and records prepared by, on behalf of, or for the

Vegas Golden Knights regarding the mental health of Robin L. Lehner.

        10)    Produce copies of all records prepared by, on behalf of, or for the Vegas Golden

Knights regarding the examination or treatment of the physical health of Robin L. Lehner.

       11)     Produce copies of all records prepared by, on behalf of, or for the Vegas Golden

Knights regarding the examination or treatment of the mental health of Robin L. Lehner.




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                    EXHIBIT B




Case 2:22-cv-00757-JPS Filed 11/21/22 Page 9 of 19 Document 17-2
                                                 O'NEIL CANNON
                                                                     O'
John R. Schreiber                                                                                                             Direct: 414.291.4703
                                              HOLLMAN DEJONG & LAlNG sr
Attorney at Law                                                                                                          John.Schreiber@wilaw.com
                                                     Wisconsin's Premier Lawyers & Litigators




          October 4, 2022


          Via Email and U.S. Mail

          Patrick Downes, Esq.
          Manteau Downes LLP
          10100 Santa Monica Blvd., Suite 300
          Los Angeles, CA 90067
          pdownes@manteaudownes.com

          Re:         Eclipse Se,vice Inc. v. So/arcade, LLC et al., U.S. District Court for the Eastern District of
                      Wisconsin Case No. 22-CV-757

          Dear Attorney Downes:

          Enclosed please find the following discovery requests in the above-referenced case:

                  •   Second Set of Interrogatories to Defendant Robin Lehner; and
                  •   Second Set of Requests for Production of Documents to Defendant Robin Lehner.

         If you have any questions, please feel free to contact me.

         Sincerely,



         John R. Schreiber

         Enclosures


         c:           Ketajh M. Brown, Esq. (via email only)
                      Marie-Sophie Revault (via email only)




              111 E. Wisconsin Avenue   Suite 1400   Milwaukee, WI 53202-4870    PHONE 414.276.5000   FAX 414.276.6581    wilaw.com
                      1329 W. Grand Avenue   Suite 200   Port Washington, WI 53074    PHONE 262.284.3407   FAX 262.284.0442


                                               TIT MERITAS
                                                             . 10 of 19 Document 17-2
                      Case 2:22-cv-00757-JPS Filed 11/21/22 Page
                                                             ~

                                                                    LAW FIRMS WORLDWIDE
                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


ECLIPSE SERVICE INC.,

               Plaintiff,
        V.                                                           Case No. 22-CV-757

SOLARCODE, LLC,
SOLARCODE HOLDINGS, LLC,
ROGER M. LEHNER, and
ROBIN L. LEHNER,

               Defendants.


       PLAINTIFF'S SECOND SET OF INTERROGATORIES TO DEFENDANT
                            ROBIN L. LEHNER


To:    Robin L. Lehner
       c/o Patrick N. Downes, Esq.
       Manteau Downes LLP
       10100 Santa Monica Boulevard, Suite 300
       Los Angeles, CA 90067

       Pursuant to Federal Rule of Civil Procedure 33, Plaintiff Eclipse Service Inc., by its

attorneys, hereby submits the following interrogatories to Defendant Robin L. Lehner. Please

submit answers to these interrogatories to counsel for Plaintiff at the offices of O'Neil, Cannon,

Hollman, DeJong & Laing S.C., 111 East Wisconsin Avenue, Suite 1400, Milwaukee, Wisconsin

53202, within 30 days of the date of service hereof and in accordance with all applicable rules.

                                         DEFINITIONS

       1.      The definitions set forth in Eastern District of Wisconsin Civil Local Rule 26(d)

are incorporated by reference.




                                                I


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          2.    The terms "and" and "or" must be construed disjunctively or conjunctively as

necessary in order to bring within the scope of the interrogatories all answers which might

otherwise be construed as outside their scope.

          3.    The terms "you" and "your" refer to Defendant Robin L. Lehner.

          4.    The term "Plaintiff' means the Plaintiff, Eclipse Service Inc.

          5.    The term "Litigation" means Case No. 22-cv-757 in the U.S. District Court for the

Eastern District of Wisconsin.

          6.    The term "Complaint" means the Complaint filed on May 10, 2022, in Milwaukee

County Circuit Court in Case No. 2022CV3016, and filed as ECF No. 1-2 in the Litigation.

                                         INSTRUCTIONS

          1.   Answer each interrogatory below separately and fully in writing, under oath, unless

it is objected to, in which event the reasons for such objection must be stated in lieu of an answer.

If only a part of the question is objected to, answer the part or parts to which no objection is made.

          2.   If any form of privilege, whether based on statute or otherwise, is claimed as a

ground for not responding to any interrogatory, or any part thereof, each and every fact upon which

the privilege is based, including sufficient facts for the Court to make a full determination as to

whether the claim of privilege is valid, shall be set forth in complete detail.

          3.   If any answer is upon information and belief, in whole or in part, so state and

identify each person, document or oral communication that is the source of such information and

belief.

          4.   Where exact information cannot be furnished, estimated or approximate data

should be supplied. Designate estimated or approximate data as such and give the basis of such

estimate.


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        5.     Reference to any organization, partnership, corporation, or other business entity

also includes reference to its employees, officers, shareholders, directors, agents and

representatives.

        6.     In interpreting these interrogatories, definitions and instructions, the use of the

singular form of any word includes the plural, and the plural includes the singular, as necessary in

order to bring within the scope of the interrogatories all answers which might otherwise be

construed as outside their scope.

                                     INTERROGATORIES

        1.     Identify all persons who examined or treated you in regard to your physical health

during the period of time from January 1, 2019 to present.

       2.      Identify all persons who evaluated, examined, or treated you in regard to your

mental health during the period of time from January 1, 2019 to present.

       3.      Identify all persons employed by, engaged by, or affiliated with Black Knight

Sports and Entertainment LLC d/b/a Vegas Golden Knights (the "Golden Knights") who examined

or treated your physical health during the period of time from January 1, 2019 to present.

       4.      Identify all persons employed by, engaged by, or affiliated with the Golden Knights

who evaluated, examined, or treated your mental health during the period of time from January 1,

2019 to present.

       5.      Identify all medications you were prescribed or ingested for your mental health

issues during the period of time from January 1, 2019 to present.

       6.      Identify all representatives or agents, certified or uncertified, that were involved

with or assisted you in negotiating your player contracts with the Golden Knights.




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       Case 2:22-cv-00757-JPS Filed 11/21/22 Page 13 of 19 Document 17-2
Dated: October _!i_, 2022

                                   By: ~ / 2 _ ~
                                   Gregory W. Lyons
                                   John R. Schreiber
                                   Christa D. Wittenberg
                                   Attorneys for &lipse Service Inc.
                                   O'Neil, Cannon, Hollman, DeJong & Laing S.C.
                                   111 E. Wisconsin A venue, Suite 1400
                                   Milwaukee, WI 53202
                                   Phone: 414.276.5000
                                   Fax: 414.276.6581
                                   greg.lyons@wilaw.com
                                   john.schreiber@wilaw.com
                                   christa.wittenberg .wilaw.com




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      Case 2:22-cv-00757-JPS Filed 11/21/22 Page 14 of 19 Document 17-2
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


ECLIPSE SERVICE INC.,

               Plaintiff,
        V.                                                           Case No. 22-CV-757

SOLARCODE, LLC,
SOLARCODE HOLDINGS, LLC,
ROGER M. LEHNER, and
ROBIN L. LEHNER,

               Defendants.


 PLAINTIFF'S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                   TO DEFENDANT ROBIN L. LEHNER


To:    Robin L. Lehner
       c/o Patrick N. Downes, Esq.
       Manteau Downes LLP
       10100 Santa Monica Boulevard, Suite 300
       Los Angeles, CA 90067

       Pursuant to Federal Rule of Civil Procedure 34, Plaintiff Eclipse Service Inc., by its

attorneys, hereby submits the following requests for production of documents to Defendant Robin

L. Lehner. Please submit responses to these document requests and produce the requested

documents to counsel for Plaintiff at the offices of O'Neil, Cannon, Hollman, DeJong & Laing

S.C., 111 East Wisconsin Avenue, Suite 1400, Milwaukee, Wisconsin 53202, within 30 days of

the date of service hereof and in accordance with all applicable rules.

                                         DEFINITIONS

       1.      The definitions set forth in Eastern District of Wisconsin Civil Local Rule 26(d)

are incorporated by reference.




       Case 2:22-cv-00757-JPS Filed 11/21/22 Page 15 of 19 Document 17-2
        2.      The phrases "related to," "relating to" and "relate to" mean in any way consisting

of, referring to, describing, discussing, reflecting, citing, pertaining to, regarding, evidencing,

concerning, summarizing or analyzing, whether directly or indirectly, the matter discussed.

        3.      The terms "and" and "or" must be construed disjunctively or conjunctively as

necessary in order to bring within the scope of the requests for production of documents all answers

which might otherwise be construed as outside their scope.

        4.      The terms "you" and "your" refer to Defendant Robin L. Lehner.

        5.      The term "Plaintiff' means the Plaintiff Eclipse Service Inc.

        6.      The term "Litigation" means Case No. 22-cv-757 in the U.S. District Court for the

Eastern District of Wisconsin.

        7.      The term "Complaint" means the Complaint filed on May 10, 2022, in Milwaukee

County Circuit Court in Case No. 2022CV3016, and filed as ECF No. 1-2 in the Litigation.

                                        INSTRUCTIONS

        1.     Answer each request below separately and fully in writing, unless it is objected to,

in which event the reasons for such objection must be stated in lieu of an answer. If only a part of

the request is objected to, answer the part or parts to which no objection is made.

        2.     If you refuse to produce any document responsive to any of the requests below,

identify the documents being withheld with as much specificity as possible, including the author,

date and present custodian, and set forth your reasons for refusing to produce the document.

        3.     If your refusal to produce any document is based upon the assertion of any

privilege, for each document being withheld, state the privilege asserted and the factual basis for

the existence of the privilege.




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        Case 2:22-cv-00757-JPS Filed 11/21/22 Page 16 of 19 Document 17-2
        4.         If you claim any privilege respecting a portion of any document, redact the

privileged matter and produce the non-privileged portions of the document. If any portion of a

document is redacted, identify and label within the document itself the portion or portions of the

document that have been redacted. In addition, consistent with Instructions No. 2 and 3 above, set

forth your reasons for redacting and refusing to produce the redacted portion of the document.

        5.      As to all document requests, produce all responsive documents and also identify all

documents responsive to the requests that once were (but no longer are) within your possession,

custody or control, whether or not they are still in existence, identifying the nature of the

documents, their contents, and their current whereabouts (if known by you) and provide the name

and address of the person last known to have possession and control of such documents.

        6.     If any of the document requests set forth below require the production of

electronically stored documents, data or information (hereinafter, ESI), in order to ensure that your

responses are complete, meet the goals set forth in Federal Rule of Civil Procedure 1, and avoid

unnecessary costs related to ESI, you are instructed to contact counsel for Defendant before

producing any ESI and within thirty days of service of these document requests to discuss

information related to the format for production.

       7.      Reference to any organization, partnershlp, corporation, or other business entity

also includes reference to its employees, officers, shareholders, directors, agents and

representatives.

       8.      In interpreting these requests, definitions, and instructions, the use of the singular

form of any word includes the plural, and the plural includes the singular, as necessary in order to

bring within the scope of the requests to admit all answers whlch might otherwise be construed as

outside their scope.


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        Case 2:22-cv-00757-JPS Filed 11/21/22 Page 17 of 19 Document 17-2
                    REQUESTS FOR PRODUCTION OF DOCUMENTS

          1.   Produce all documents identified in, referred to in, or relied on or reviewed while

preparing any of your answers to Plaintiffs Second Set of Interrogatories to Defendant Robin L.

Lehner.

       2.      Produce copies of all healthcare provider records pertaining to the examination or

treatment of your physical health during the period from January 1, 2019 to present.

       3.      Produce copies of all healthcare provider records pertaining to the evaluation,

examination, or treatment of your mental health during the period from January 1, 2019 to present.


Dated: October __J__, 2022


                                             By: ~               /l _ fo ,~
                                             Gregory W. Lyons
                                             John R. Schreiber
                                             Christa D. Wittenberg
                                             Attorneys for Eclipse Service Inc.
                                             O'Neil, Cannon, Hollman, Delong & Laing S.C.
                                             111 E. Wisconsin A venue, Suite 1400
                                             Milwaukee, WI 53202
                                             Phone: 414.276.5000
                                             Fax: 414.276.6581




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                                 CERTIFICATE OF SERVICE



       The undersigned hereby certifies that he caused a true and accurate copy of the foregoing

to be transmitted to all counsel of record as of this date by filing same through the Court’s

ECF/CM system on November 21, 2022.




                                                      /s/ Patrick Downes____________________
                                                      Patrick Downes




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